Case 2:05-CV-02098-SHI\/|-tmp Document 10 Filed 06/01/05 Page 1 of 3 Page|D 19

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FoR THE WESTERN DISTRICT oF TENNESSEE ,
WEsTERN DlvisroN 05 JUN -l PH 11- 10

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DENNIS J'OSLIN OKLAHOMA, L.L.C., ms 03 153 1113 1

Plaintiff,

VS. NO. 05-2098-Ma/P

DARRELL SELLS,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the Court is the May 31, 2005 motion for admission pro hac vice of Jolm G.
Young, Jr. Mr. Young is a member in good standing of the bar of the State of Missouri and is
admitted to practice before the United States District Court for the Eastern District of Missouri.
Mr. Young has obtained and is familiar With the local rules and professional guidelines ot` this
court.

F or good cause shown, the motion is granted and John G. Young, Jr., is admitted to
participate in this action as counsel for Defendant.

11 is so oRDEREr) this 15 i'day ofJune, 2005.
JA ¢/’ " '4/-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:05-CV-02098 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Sarnuel Mays
US DISTRICT COURT

